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                             8

                             9                              IN THE UNITED STATES DISTRICT COURT

                            10                          THE NORTHERN DISTRICT OF CALIFORNIA

                            11                                    SAN FRANCISCO DIVISION
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                            12   AMAZON.COM, INC., a Delaware corporation,          Case No. 3:19-cv-3596

                            13                 Plaintiff,                           COMPLAINT

                            14          v.

                            15   JOHN DOES 1–50,

                            16                 Defendants.

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                             1                                       I.     INTRODUCTION
                             2           1.      Amazon.com, Inc. (“Amazon”) is one of the world’s most trusted brands.
                             3   Defendants are engaged in a fraudulent scheme to impersonate Amazon in order to defraud
                             4   victims. Specifically, Defendants deceive victims into applying for fake customer service jobs
                             5   with Amazon and then, as part of a phony training exercise, access victims’ wireless accounts to
                             6   make unauthorized purchases of cell phones. Defendants’ fraudulent scheme causes financial
                             7   harm to their victims whose accounts are charged for the cell phones and damage to Amazon’s
                             8   reputation and brand.
                             9           2.      Defendants start by posting fake online advertisements for customer service jobs
                            10   with Amazon. In these advertisements, Defendants impersonate Amazon and offer fake
                            11   positions with Amazon. Among other tactics, Defendants use Amazon’s trademarks, numerous
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                            12   false statements of affiliation with Amazon, and images of company leaders to deceive victims
                            13   into applying for these fake positions.
                            14           3.      Once victims apply, Defendants guide them through an online “interview”
                            15   process in which Defendants pose as an Amazon “HR Manager & Executive Assistant.” To
                            16   further this fraud, Defendants use intentionally misleading email addresses, such as
                            17   amazon.recruit@zoho.com, and email signature blocks that use Amazon’s trademarks.
                            18           4.      After the interview, Defendants conduct a “training” exercise, which they tell
                            19   victims is the last step before receiving a job with Amazon. In actuality, Defendants use this
                            20   training exercise to access victims’ wireless accounts and place orders for thousands of dollars’
                            21   worth of cell phones. Defendants then instruct victims to reship these phones to addresses
                            22   provided by Defendants. Victims are told “Amazon” will reimburse them for the phones, but
                            23   Defendants are not affiliated with Amazon and victims are left footing the bill.
                            24           5.      Amazon spends considerable resources to protect its reputation and the millions
                            25   of people who have come to trust Amazon’s name. As part of its effort, Amazon investigates
                            26   and takes action to help stop unlawful schemes that abuse Amazon’s brand and harm the public.
                            27   Amazon brings this lawsuit to stop Defendants’ fraudulent scheme and hold them accountable
                            28   for their actions.

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                             1                                            II.     PARTIES
                             2             6.    Amazon is a Delaware corporation with its principal place of business in Seattle,
                             3   Washington. Through its subsidiaries, Amazon owns and operates the Amazon.com website and
                             4   equivalent international websites.
                             5             7.    The true identities of John Does 1–50 are not presently known to Amazon. On
                             6   information and belief, Defendants are individuals and entities working in active concert to
                             7   knowingly and willfully run the scheme alleged in this Complaint, including by using Amazon’s
                             8   trademarks and brand to deceive victims.
                             9                                III.    JURISDICTION AND VENUE
                            10             8.    The Court has subject matter jurisdiction over Amazon’s claims for trademark
                            11   infringement (15 U.S.C. § 1114), violations of Section 43(a) of the Lanham Act (15 U.S.C.
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                            12   § 1125(a)), and trademark dilution (15 U.S.C. § 1125(c)) pursuant to 15 U.S.C. § 1121 and
                            13   28 U.S.C. §§ 1331 and 1338(a). The Court has jurisdiction over Amazon’s claim under
                            14   California’s Anti-Phishing Act of 2005 (Cal. Bus. & Prof. Code § 22948) pursuant to 28 U.S.C.
                            15   § 1367(a) because the claim arises from the same set of operative facts as Amazon’s federal
                            16   claims.
                            17             9.    The Court has personal jurisdiction over Defendants because they transacted
                            18   business and committed tortious acts within and directed to this District, and Amazon’s claims
                            19   arise from those activities. On information and belief, Defendants intentionally conducted
                            20   business with companies that are located in this District in order to establish, maintain, and use
                            21   the online infrastructure necessary to perpetrate the scheme alleged in this Complaint.
                            22   Defendants’ contacts with this District were a necessary and critical part of this scheme, and
                            23   Amazon’s claims arise from Defendants’ contacts with the District.
                            24             10.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a
                            25   substantial part of the events giving rise to Amazon’s claims occurred in the District, and
                            26   Defendants are subject to personal jurisdiction in this district.
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                             1          11.     Pursuant to Civil L.R. 3-2(d), intra-district assignment to the San Francisco
                             2   Division is proper because a substantial part of the events or omissions which give rise to
                             3   Amazon’s claims occurred in the counties assigned to this division.
                             4                                            IV.     FACTS
                             5          A.      Amazon Is a Trusted Brand that Devotes Significant Resources to
                                                Combating Cybercriminals
                             6

                             7          12.     Amazon is a highly trusted brand that is inextricably linked with sales of
                             8   innumerable products and services.
                             9          13.     Amazon has exclusive ownership of numerous U.S. trademark registrations and
                            10   pending applications. These trademarks are a critical component of consumers’ ability to readily
                            11   identify Amazon products and services. Relevant to this case, the following trademarks and
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                            12   service marks (collectively “Amazon Trademarks”) are being unlawfully used by Defendants:
                            13                             Mark                   Registration No. (International
                            14                                                               Classes)
                                                                                2,657,226 (Int. Cl. 42)
                            15                          AMAZON                  2,738,837 (Int. Cl. 38)
                                                                                2,738,838 (Int. Cl. 39)
                            16
                                                                                2,832,943 (Int. Cl. 35)
                            17                                                  2,857,590 (Int. Cl. 9)
                                                                                3,868,195 (Int. Cl. 45)
                            18                                                  4,171,964 (Int. Cl. 9)
                                                                                4,533,716 (Int. Cl. 2)
                            19                                                  4,656,529 (Int. Cl. 18)
                            20                                                  4,907,371 (Int. Cls. 35, 41, 42)
                                                                                5,102,687 (Int. Cl. 18)
                            21                                                  5,281,455 (Int. Cl. 36)
                                                                                2,078,496 (Int. Cl. 42)
                            22                       AMAZON.COM                 2,167,345 (Int. Cl. 35)
                            23                                                  2,559,936 (Int. Cls. 35, 36, 42)
                                                                                2,633,281 (Int. Cl. 38)
                            24                                                  2,837,138 (Int. Cl. 35)
                                                                                2,903,561 (Int. Cls. 18, 28)
                            25                                                  3,411,872 (Int. Cl. 36)
                                                                                4,608,470 (Int. Cl. 45)
                            26
                                                                                4,171,965 (Int. Cl. 9)
                            27                                                  5,038,752 (Int. Cl. 25)
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                             1          14.     The Amazon Trademarks have been used exclusively and continuously by
                             2   Amazon, and have never been abandoned. The above U.S. registrations for the Amazon
                             3   Trademarks are valid, subsisting, in full force and effect, and many are incontestable pursuant to
                             4   15 U.S.C. § 1065. The registrations for the Amazon Trademarks constitute prima facie
                             5   evidence of their validity and of Amazon’s exclusive right to use the Amazon Trademarks
                             6   pursuant to 15 U.S.C. § 1057(b).
                             7          15.     The Amazon Trademarks are distinctive when used with the products and services
                             8    sold by Amazon, and signify to the purchaser that the products and services come from Amazon
                             9    and meet Amazon’s numerous quality standards.
                            10          16.     Amazon devotes significant resources to protecting people from cybercriminals
                            11   and other bad actors who deceive victims into believing they are affiliated with Amazon.
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                            12          17.     Amazon is one of the largest employers in the United States, and is constantly
                            13   recruiting for a variety of positions. Its growth in recent years, including its significant hiring
                            14   efforts, has received widespread media attention.
                            15          18.     Through fake recruiting schemes like the one alleged in this case, cybercriminals
                            16   attempt to exploit the public’s awareness of Amazon’s growth and the potential for employment
                            17   opportunities with the company.
                            18          19.     Amazon is committed to holding Defendants accountable for their unlawful
                            19   actions in order to prevent additional job-seekers from being wrongfully victimized.
                            20          B.      Defendants Defraud Victims By Offering Fake Work at Home Positions
                                                with Amazon
                            21

                            22          20.     Defendants operate a sophisticated recruiting scheme that exploits people’s
                            23   recognition of, and trust in, Amazon’s brand. The purpose of Defendants’ scheme is to access
                            24   victims’ wireless accounts to purchase cell phones. As discussed below, Defendants’ scheme
                            25   has three main phases, and during each phase Defendants impersonate Amazon. Defendants’
                            26   unlawful actions harm both Amazon and the numerous people who are victimized by
                            27   Defendants’ fraudulent use of Amazon’s brand.
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                             1                 1.      Stage 1: Defendants Use Fake Job Posts for Work-at-Home Positions
                                                       with Amazon to Lure Victims
                             2

                             3         21.     Defendants’ scheme begins with fake advertisements for work at home positions
                             4   with Amazon. Defendants post these fake advertisements on numerous online job search
                             5   websites. For example, on information and belief, Defendants advertised on the website
                             6   WorkAtHomeAds.us for a fake position with the title “Amazon Virtual Order Processing.”
                             7         22.     In these advertisements, Defendants falsely claim to offer positions with Amazon.
                             8   Defendants use the Amazon Trademarks, numerous false statements of affiliation with Amazon,
                             9   and an image of a senior Amazon leader to deceive victims into applying for these fake
                            10   positions. Defendants have no affiliation with Amazon, have no authorization to use Amazon’s
                            11   brand, and are not recruiting for positions with Amazon.
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                            12         23.     Among other advertisements, Defendants posted an advertisement on the job
                            13   recruiting website StartUs (startus.cc) for an “Amazon Virtual Customer Service Associate.” A
                            14   partial screenshot of the top portion of this advertisement is below, and a copy of the full
                            15   advertisement is attached as Exhibit 1:
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                             1          24.     As shown in the above advertisement, Defendants impersonate Amazon.
                             2   Defendants’ advertisement claims that “Amazon is seeking” applicants. It also contains
                             3   numerous false statements about Defendants’ connection to Amazon. Further, the end of the
                             4   advertisement is signed “Amazon Inc.,” uses a genuine corporate address for Amazon, and lists
                             5   Amazon’s actual website (amazon.com).
                             6          25.     Defendants created their fake advertisements by copying significant portions of
                             7   the content from Amazon’s genuine listing for a customer service associate position. On
                             8   information and belief, Defendants copied Amazon’s genuine listing to make their listing appear
                             9   real and to increase the likelihood that victims apply for the position.
                            10          26.     Defendants also added content to their fraudulent listing that was not contained in
                            11   Amazon’s genuine listing. For example, Defendants added the image of a senior Amazon leader
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                            12   to the top of their advertisement. They also increased the advertised pay for the job to “$25/hour
                            13   and fulltime $40/hr with performance-based bonuses and incentives.” Defendants even claimed
                            14   that employees receive a “40% discount on products we sell.” On information and belief,
                            15   Defendants also copied positive reviews posted about Amazon from the job search website
                            16   Indeed.com. On information and belief, Defendants added this content to further entice victims
                            17   to apply for Defendants’ fake position.
                            18                  2.      Stage 2: Defendants Use a Phony Interview Process to Deceive
                                                        Victims
                            19

                            20          27.     Victims who apply for Defendants’ fake Amazon position receive an initial email
                            21   thanking them for applying and inviting them to an “email webinar interview.”
                            22          28.     Defendants intentionally design their emails to appear as if they come from
                            23   Amazon. Among other tactics, the “from” field states the sender is “Amazon HR.” Defendants
                            24   also sign the emails as fictitious Amazon employees. Specifically, Defendants use the names
                            25   Julie L. Thompson and Christine L. Wolf, who Defendants claim are each an “HR Manager &
                            26   Executive Assistant” with “Amazon, Inc.” Defendants also use the Amazon Trademarks in their
                            27   emails to further deceive victims into believing the emails are sent by Amazon. For example,
                            28   below are two screenshots of signatures from emails Defendants sent to victims:

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                            12          29.     As shown in the above signature blocks, Defendants use intentionally misleading

                            13   email addresses to communicate with victims, such as amazon.recruityou@zoho.com,

                            14   amazon.recruit@zoho.com, and amazon.employ@zoho.com. These email addresses use

                            15   Amazon’s name to further deceive victims into believing they are from Amazon. Defendants

                            16   created these email addresses with the company Zoho Corporation (zoho.com) and used Zoho’s

                            17   California-based infrastructure to send emails to victims. Zoho provides web-based business

                            18   applications and email services, and has an office in Pleasanton, California.

                            19          30.     Defendants use VPN, RDP, and similar tools1 to send at least some of the emails

                            20   in this scheme. One of the purposes of using these tools is to hide the IP address connected to

                            21   Defendants’ physical location, which makes it harder to identify Defendants.

                            22          31.     For example, Defendants emailed a victim from the email address

                            23   amazon.recruityou@zoho.com on January 23, 2019 at 17:01:48 -0800 (PST). This email was

                            24   initiated from IP address 199.116.119.7, which is used by the company Total Server Solutions,

                            25   LLC, and is likely connected to a VPN, RDP, or similar tool used by Defendants.

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                                   VPNs (Virtual Private Networks) and RDPs (Remote Desktop Protocols) work differently but,
                            28   among other things, allow users to connect to and operate from a remote server (i.e., a server that
                                 is not physically located at a user’s location).
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                             1          32.     As another example, in February 2019, Defendants initiated multiple emails from
                             2   both amazon.recruityou@zoho.com and amazon.recruit@zoho.com using IP address
                             3   185.244.215.100, which is used by the company M247 in its U.S.-based datacenter, and is likely
                             4   connected to a VPN, RDP, or similar tool used by Defendants.
                             5          33.     When victims respond to Defendants’ initial invitation to participate in an “email
                             6   interview,” Defendants email them two sets of questions in separate emails. The first email asks
                             7   victims to respond to ten basic prompts, such as “Tell me about yourself” and “Describe your
                             8   ability to resolve conflict.” After victims respond, Defendants pose another series of ten
                             9   prompts, such as “Would you describe yourself as a people person?” and “What’s our mission?”
                            10          34.     On information and belief, Defendants use these “interview” questions as a
                            11   further means to deceive victims into believing they are participating in a genuine job interview
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                            12   with Amazon, and to further screen victims before defrauding them.
                            13                  3.     Stage 3: Defendants Conduct a Fake Training Exercise to
                                                       Defraud Victims
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                            15          35.     After the “interview,” Defendants transition victims into a “training” exercise
                            16   during which Defendants purchase cell phones from victims’ wireless accounts.
                            17          36.     Upon completing the interview, victims receive an email from Defendants with
                            18   the subject “WELCOME ON BOARD!” In this email, Defendants claim that the victims “will
                            19   need to undergo a little more training” in order to start working for Amazon. A screenshot of a
                            20   version of this email is below (with the victim information redacted for privacy):
                            21          [Image on following page]
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                            13            37.   Defendants then send a follow-up email in which they attempt to collect a copy of

                            14   the victims’ identification by claiming they are “required to see original documents in order to

                            15   confirm [the victims’] eligibility to work in the country.”

                            16            38.   In that same email, Defendants also describe in more detail the “training process”

                            17   the victims will undergo. Defendants tell the victims that the “training” is “an assignment/tests

                            18   [sic] that simulates some of the job duties.” Because Defendants are recruiting for fake customer

                            19   service positions, Defendants stage their training exercise as helping a customer process an

                            20   order.

                            21            39.   Defendants coordinate the training using services provided by a company called

                            22   Zendesk, Inc., which is headquartered in San Francisco and provides customer service and

                            23   engagement products.2 Defendants registered an account with Zendesk called “AMAZON” or

                            24   “Amazon Jobs.” From this account, Defendants email victims using email addresses at the

                            25   domain @amazonjob.zendesk.com. That domain also hosts a website that uses the Amazon

                            26   Trademarks as part of Defendants’ scheme, a screenshot of which is below:

                            27

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                                  Defendants also communicated about this process via text message from the number 979-353-
                                 6115, which was controlled by TextPlus, Inc. and is now controlled by Inteliquent, Inc.
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                            11           40.     Using an email address at the domain @amazonjob.zendesk.com, Defendants tell
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                            12   victims the first step in the training exercise is for the victim to “integrate” his or her wireless
                            13   phone account (e.g., Verizon, AT&T, etc.) with the Defendants’ account (an account victims
                            14   believe is connected to Amazon). To accomplish this task, Defendants solicit the victims’
                            15   account credentials. Defendants deceive victims into providing this information by claiming it is
                            16   a necessary step in the process to obtain a job at Amazon. No “integration” takes place, and this
                            17   is merely a means for Defendants to obtain access to the victims’ accounts.
                            18           41.     With the victims’ account credentials, Defendants login to the victims’ wireless
                            19   accounts and purchase cell phones through the victims’ accounts. Defendants tell the victims
                            20   that the purchase amount will be reimbursed by Amazon at the end of the training exercise. This
                            21   is false because the victims are never reimbursed.
                            22           42.     After purchasing the phones, Defendants instruct the victims to help complete the
                            23   transaction in order to demonstrate the victims’ ability to perform the duties required for a
                            24   customer service position at Amazon. Among other things, Defendants instruct the victims to
                            25   contact their wireless carrier to ensure the carrier processes the transaction. Defendants also tell
                            26   the victims to ship the phones to a specific address once the victims receive them.
                            27           43.     On information and belief, the phones purchased from victims’ accounts are
                            28   eventually shipped to Defendants.

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                             1                                    V.     CAUSES OF ACTION
                             2                                    FIRST CAUSE OF ACTION

                             3      Violations of California’s Anti-Phishing Act of 2005 (Cal. Bus. & Prof. Code § 22948)

                             4          44.     Amazon incorporates by reference the factual allegations contained in Sections I–
                             5   IV as though set forth herein.
                             6          45.     Amazon owns the Amazon Trademarks as well as numerous websites, such as
                             7   amazon.com.
                             8          46.     Defendants impersonate Amazon by explicitly representing themselves as
                             9   working for Amazon, including using the Amazon Trademarks, numerous false statements about
                            10   their purported affiliation with Amazon, and images of senior Amazon leaders. Defendants
                            11   impersonate Amazon in electronic mail messages, web pages, and various other methods and
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                            12   means over the Internet, as described above.
                            13          47.     In these same electronic mail messages, web pages, and uses of the Internet,
                            14   where Defendants impersonate Amazon, Defendants solicit, request, and take action to induce
                            15   victims to provide identifying information, including passwords to victims’ wireless accounts,
                            16   that can be used to purchase goods and services.
                            17          48.     As a result of Defendants’ wrongful conduct, Amazon is entitled to recover the
                            18   greater of its actual damages or $500,000. Further, Amazon seeks treble damages based on
                            19   Defendants’ clear pattern and practice of using the Amazon Trademarks to solicit, request, or
                            20   induce victims to supply identifying information.
                            21          49.     Amazon seeks its attorneys’ fees and costs for bringing this action, as allowed by
                            22   law.
                            23                                    SECOND CAUSE OF ACTION

                            24                            Trademark Infringement (15 U.S.C. § 1114)

                            25          50.     Amazon incorporates by reference the factual allegations contained in Sections I–
                            26   IV as though set forth herein.
                            27          51.     Defendants’ activities infringe the Amazon Trademarks.
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                             1          52.     Amazon advertises, markets, and distributes its products and services using the
                             2   Amazon Trademarks, and uses these trademarks to distinguish its products and services from the
                             3   products and services of others in the same or related fields.
                             4          53.     Because of Amazon’s long, continuous, and exclusive use of the Amazon
                             5   Trademarks, they have come to mean, and are understood by customers, users, and the public to
                             6   signify, products and services from Amazon.
                             7          54.     Defendants use the Amazon Trademarks in their job advertisements, in their
                             8   emails when communicating with victims, and on their websites—all of which occurs in
                             9   commerce in a manner that is likely to cause confusion, mistake, or deception as to source,
                            10   origin, or authenticity of Defendants’ advertisements, emails, and websites.
                            11          55.     Further, Defendants’ activities are likely to lead the public to conclude,
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                            12   incorrectly, that Defendants’ advertisements, emails, and websites originate with or are
                            13   sponsored or authorized by Amazon, thereby harming Amazon and the public.
                            14          56.     At a minimum, Defendants acted with willful blindness to, or in reckless
                            15   disregard of, their authority to use the Amazon Trademarks and the confusion that the use of
                            16   those trademarks had on consumers as to the source, sponsorship, affiliation, or approval by
                            17   Amazon of Defendants’ advertisements, emails, and websites.
                            18          57.     Defendants are subject to liability for the wrongful conduct alleged herein, both
                            19   directly and under various principles of secondary liability, including without limitation,
                            20   respondeat superior, vicarious liability, and/or contributory infringement.
                            21          58.     As a result of Defendants’ wrongful conduct, Amazon is entitled to recover its
                            22   actual damages, Defendants’ profits attributable to the infringement, and treble damages and
                            23   attorney fees pursuant to 15 U.S.C. § 1117(a)–(b). The amount of money due from Defendants
                            24   to Amazon is unknown to Amazon and cannot be ascertained without a detailed accounting by
                            25   Defendants. Alternatively, Amazon is entitled to statutory damages under 15 U.S.C. § 1117(c).
                            26          59.     Amazon is further entitled to injunctive relief, as set forth in the Prayer for Relief
                            27   below. Amazon has no adequate remedy at law for Defendants’ wrongful conduct because,
                            28   among other things: (a) the Amazon Trademarks are unique and valuable property; (b) in

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                             1   addition to the significant harm Defendants have caused to innocent job-seekers, Defendants’
                             2   infringement constitutes harm to Amazon’s reputation and goodwill such that Amazon could not
                             3   be made whole by any monetary award; (c) if Defendants’ wrongful conduct is allowed to
                             4   continue, the public is likely to become further confused, mistaken, or deceived as to the source,
                             5   origin, or authenticity of the infringing advertisements, emails, and websites; and (d)
                             6   Defendants’ wrongful conduct, and the resulting harm to Amazon, is continuing.
                             7                                    THIRD CAUSE OF ACTION

                             8      False Designation of Origin, False Association or Sponsorship, and False Advertising
                                                                    (15 U.S.C. § 1125(a))
                             9

                            10          60.     Amazon incorporates by reference the factual allegations contained in Sections I–
                            11   IV as though set forth herein.
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                            12          61.     Amazon advertises, markets, and distributes its products and services using the
                            13   Amazon Trademarks, and it uses these trademarks to distinguish its products and services from
                            14   the products and services of others in the same or related fields.
                            15          62.     Because of Amazon’s long, continuous, and exclusive use of the Amazon
                            16   Trademarks, they have come to mean, and are understood by customers, end users, and the
                            17   public to signify products and services from Amazon.
                            18          63.     Amazon has also designed distinctive and aesthetically pleasing displays, logos,
                            19   icons, and graphic images (collectively, “Amazon designs”) for its websites.
                            20          64.     Defendants’ wrongful conduct includes the use of Amazon’s Trademarks, name,
                            21   and/or imitation designs (specifically displays, logos, icons, and/or graphic designs virtually
                            22   indistinguishable from the Amazon designs) in connection with Defendants’ commercial
                            23   advertising or promotion.
                            24          65.     Defendants have used, and continue to use, Amazon’s Trademarks, name, and/or
                            25   imitation designs to deceive people who view their advertisements, emails, and webpages. On
                            26   information and belief, Defendants’ wrongful conduct misleads and confuses those people as to
                            27   the origin and authenticity of the goods and services advertised, marketed, offered, or distributed
                            28   in connection with Amazon’s Trademarks, name, and imitation visual designs, and wrongfully

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                             1   trades upon Amazon’s goodwill and business reputation. Defendants’ conduct constitutes: (a)
                             2   false designation of origin; (b) false association, affiliation, connection, sponsorship or approval;
                             3   and (c) false advertising—all in violation of 15 U.S.C. § 1125(a).
                             4          66.     Defendants’ acts constitute willful false statements in connection with goods
                             5   and/or services distributed in interstate commerce, in violation of § 43(a) of the Lanham Act, 15
                             6   U.S.C. § 1125(a).
                             7          67.     Defendants are subject to liability for the wrongful conduct alleged herein, both
                             8   directly and under various principles of secondary liability, including without limitation,
                             9   respondeat superior, vicarious liability, and/or contributory infringement.
                            10          68.     Amazon is further entitled to injunctive relief, as set forth in the Prayer for Relief
                            11   below. In addition to the significant harm Defendants have caused to innocent job-seekers,
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                            12   Defendants’ acts have caused irreparable injury to Amazon. The injury to Amazon is, and
                            13   continues to be, ongoing and irreparable. An award of monetary damages cannot fully
                            14   compensate Amazon for its injuries, and Amazon lacks an adequate remedy at law.
                            15          69.     As a result of Defendants’ wrongful conduct, Amazon is entitled to recover its
                            16   actual damages, Defendants’ profits, and treble damages and attorney fees pursuant to 15 U.S.C.
                            17   § 1117(a). The amount of money due from Defendants to Amazon is unknown to Amazon and
                            18   cannot be ascertained without a detailed accounting by Defendants.
                            19                                    FOURTH CAUSE OF ACTION

                            20                              Trademark Dilution (15 U.S.C. § 1125(c))

                            21          70.     Amazon incorporates by reference the factual allegations contained in Sections I–
                            22   IV as though set forth herein.
                            23          71.     Amazon has exclusively and continuously promoted and used the Amazon
                            24   Trademarks. As one of the world’s most well-known technology companies, the Amazon
                            25   Trademarks have become famous, distinctive, and well-known symbols of Amazon—well before
                            26   Defendants began using the Amazon Trademarks in association with their goods or services
                            27   unaffiliated with Amazon through the Defendants’ illegal use and infringement of the Amazon
                            28   Trademarks.

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                             1          72.     Defendants’ actions—including, but not limited to, their unauthorized use of the
                             2   Amazon Trademarks in commerce to deceive users into believing Defendants’ advertisements,
                             3   emails, and websites are affiliated with Amazon—are likely to cause dilution of the Amazon
                             4   Trademarks by blurring and tarnishment in violation of 15 U.S.C. § 1125(c).
                             5          73.     As a result of Defendants’ willful conduct, Amazon is entitled to recover its actual
                             6   damages, Defendants’ profits, treble damages, and attorneys’ fees pursuant to 15 U.S.C.
                             7   § 1117(a).
                             8          74.     Amazon is further entitled to injunctive relief, as set forth in the Prayer for Relief
                             9   below. In addition to the significant harm Defendants have caused to innocent job-seekers,
                            10   Defendants’ acts have caused irreparable injury to Amazon. The injury to Amazon is and
                            11   continues to be ongoing and irreparable. An award of monetary damages cannot fully
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                            12   compensate Amazon for its injuries, and Amazon lacks an adequate remedy at law.
                            13                                    VI.    PRAYER FOR RELIEF
                            14          WHEREFORE, Amazon respectfully prays for the following relief:
                            15          A.      That the Court enter judgment in favor of Amazon on all claims;
                            16          B.      That the Court issue an order permanently enjoining Defendants, their officers,
                            17   agents, representatives, employees, successors and assigns, and all others in active concert or
                            18   participation with them, from:
                            19                  (i)     Using the Amazon Trademarks in connection with any employment
                            20                          opportunity or sale of goods or services;
                            21                  (ii)    Registering or using domains that include, are confusingly similar to, or
                            22                          dilutive of, the Amazon Trademarks;
                            23                  (iii)   Using any other indication of Amazon’s brand in connection with any
                            24                          employment opportunity or sale of goods or services;
                            25                  (iv)    Making any statement of an affiliation or connection to Amazon; or
                            26                  (v)     Assisting, aiding, or abetting any other person or business entity in
                            27                          engaging or performing any of the activities referred to in the
                            28                          subparagraphs above;

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                             1          C.      That the Court enter an order requiring Defendants to provide Amazon a full and
                             2   complete accounting of all gross and net proceeds unlawfully earned from innocent job-seekers,
                             3   including an identification of those victims;
                             4          D.      That Defendants be required to pay the greater of Amazon’s actual damages or
                             5   $500,000 for violations of Cal. Bus. & Prof. Code § 22948;
                             6          E.      That Defendants’ profits from the unlawful conduct alleged in this Complaint be
                             7   disgorged pursuant to 15 U.S.C. § 1117(a);
                             8          F.      That Defendants be required to pay all actual damages which Amazon has
                             9   sustained, or will sustain, as a consequence of Defendants’ unlawful acts, and that such damages
                            10   be trebled as provided for by 15 U.S.C. § 1117(a)–(b), or otherwise allowed by law;
                            11          G.      That, instead of actual damages, Defendants be required to pay the maximum
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                            12   amount of statutory damages for their infringement of the Amazon Trademarks pursuant to 15
                            13   U.S.C. § 1117(c);
                            14          H.      As this is an exceptional case, that Defendants be required to pay the costs of this
                            15   action and the reasonable attorneys’ fees incurred in prosecuting this action, as provided for by
                            16   15 U.S.C. § 1117, Cal. Bus. & Prof. Code § 22948, or otherwise by law; and
                            17          I.      That the Court grant Amazon such other, further, and additional relief as the
                            18   Court deems just and equitable.
                            19   DATED: June 20, 2019                            Respectfully submitted,
                            20                                                   DAVIS WRIGHT TREMAINE LLP
                            21
                                                                                 By: /s/ Bonnie E. MacNaughton
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                            23                                                      Sara A. Fairchild (pro hac vice forthcoming)
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